  Case: 1:18-cv-04259 Document #: 1 Filed: 06/19/18 Page 1 of 25 PageID #:1



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

JAEHO JUNG,                                            )
                                                       )
      Plaintiff,                                       )         CASE NO. 18-CV-4259
                                                       )
      v.                                               )
                                                       )
CHICAGO POLICE SERGEANT XAVIER                         )
ELIZANDO; CHICAGO POLICE OFFICER                       )
PRISCILLA HERNANDEZ, STAR NO. 7387;                    )
CHICAGO POLICE OFFICER SERGEANT MARK                   )
FLECHSIG; CHICAGO POLICE OFFICER ASHAI                 )
HAYDEN; CHICAGO POLICE SERGEANT SHAWN                  )
PICKETT; CHICAGO POLICE LIEUTENANT DARREN )
DOSS, individually and as employees/Agents of the CITY )
OF CHICAGO, a municipal corporation; and THE CITY      )
OF CHICAGO, a municipal corporation,                   )
                                                       )
      Defendants.                                      )

                                     COMPLAINT

       NOW COMES PLAINTIFF JAEHO JUNG, by and through his attorneys

ROBERTSON DURIC, and complains of Chicago Police Sergeant Xavier Elizando;

Chicago Police Officer Priscilla Hernandez, Star No, 7387; Chicago Police Sergeant

Mark Flechsig; Chicago Police Officer Asahi Hayden; Chicago Police Sergeant Shawn

Pickett; Chicago Police Captain Darren Doss, all individually and as employees and/or

agents of the City Of Chicago; and the City of Chicago as follows:

                                      Introduction

       1.      This is an action for civil damages brought pursuant to 42 U.S.C. § 1983,

and includes certain Illinois state law claims. This Court has jurisdiction pursuant to 28

U.S.C. §§ 1331 and 1343(a), and the Constitution of the United States. The Court also

has supplemental jurisdiction over Plaintiff’s state law claims pursuant to 28 U.S.C. §
  Case: 1:18-cv-04259 Document #: 1 Filed: 06/19/18 Page 2 of 25 PageID #:2



1367.

        2.     Venue in this district is proper pursuant to 28 U.S.C § 1391(b), because

the facts which give rise to the claims asserted herein occurred in the Northern District of

Illinois.

        3.     Plaintiff Jaeho Jung is a resident of this District.

        4.     Plaintiff Jung is of Korean-American descent.

        5.     At all times relevant to this Complaint, Plaintiff Jung was employed as a

police officer by the City of Chicago Police Department.

        6.     Plaintiff has been working with the City of Chicago as a police officer

since August of 2006.

        7.     Plaintiff is a decorated police officer for the City of Chicago and has been

so since he started with the Department.

        8.     Plaintiff has received approximately 150 decorations and professional

awards from the Chicago Police Department and various professional organizations.

Over 120 of these awards have come from the Chicago Police Department itself.

        9.     Defendants Chicago Police Sergeant Xavier Elizando; Chicago Police

Officer Priscilla Hernandez, Star 7387; Chicago Police Sergeant Mark Flechsig; Chicago

Police Officer Asahi Hayden; Chicago Police Sergeant Shawn Pickett; and Chicago

Police Lieutenant Darren Doss (now Captain) were at all times material hereto duly

appointed Chicago Police Officers employed by the Defendant City of Chicago and

acting in the capacity of a sworn law enforcement officials.

        10.    Defendant City of Chicago is a municipal corporation that maintained as a

division of the municipal corporation a police department that is commonly referred to as




                                              2
  Case: 1:18-cv-04259 Document #: 1 Filed: 06/19/18 Page 3 of 25 PageID #:3



the Chicago Police Department.

       11.     Defendant City of Chicago employs one or more employees and, as such,

is subject to the Illinois Whistleblower Act.

       12.     From May 2014 to January 2015, Defendant Chicago Police Sergeant

Xavier Elizondo was the head of the Third District 361 Tactical Team.

       13.     During that period of time, Defendant Elizando was the direct supervisor

of Plaintiff Officer Jung, who was assigned as a tactical officer to that team.

       14.     In February 2015, Plaintiff was transferred to another of the Third District

tactical teams – Team 362.

       15.     From February 2015 to May 2015, Defendant Chicago Police Sergeant

Shawn Pickett was the head of the Third District 362 Tactical Team.

       16.     During this period of time, Defendant Pickett was the direct supervisor of

Plaintiff, who was assigned as a tactical officer to that team.

       17.     Defendant Doss supervised and was above Defendant Pickett in the Third

District chain of command during this period of time.

       18.     Defendant Doss and his subordinates were responsible for supervising

Defendant Pickett during this period of time.

       19.     In May 2015, Defendant Chicago Police Sergeant Mark Fleschsig was

Plaintiff’s direct supervisor on the Third District 362 Tactical Team. Defendant Sergeant

Flechsig continued to supervise Plaintiff in this position until October 2015.

       20.     At all relevant times to this Complaint, Defendant Lieutenant Doss

supervised and was above Defendant Sergeant Pickett in the Third District chain of

command during this period of time.




                                                3
  Case: 1:18-cv-04259 Document #: 1 Filed: 06/19/18 Page 4 of 25 PageID #:4



       21.     Defendant Doss and his subordinates were responsible for supervising

Defendant Pickett during this period of time.

                      Plaintiff Sees The Code of Silence In Action

       22.     While working in the Chicago Police Department, Plaintiff became aware

of a code of silence amongst many of the officers, supervisors, and employees of the

Chicago Police Department.

       23.     Plaintiff became aware that he and other officers were actively pressured

and discouraged from reporting misconduct and were in fact encouraged to turn a blind

eye to a variety of misconduct by members of the Chicago Police Department, including

officers, tactical officers, supervisors and other employees of the Chicago Police

Department.

       24.     Frequently, the officer actively pressuring or discouraging the reporting of

police misconduct was a supervisor or an officer with more experience.

       25.     Plaintiff also became aware that many of the supervisors would order

other officers to commit infractions, such as the filing of false reports or ignoring blatant

rule violations, thereby compelling them to be an unwilling participant in some of the

very violations that they were trying to report and remedy.

       26.     Plaintiff also became aware that officers who reported infractions or

violations were treated differently than other officers, including being a.) threatened and

treated with hostility; b.) shunned or ostracized, c.) were not backed up or supported in

the field in potentially dangerous situations; d.) were harassed through a variety of means

such as false disciplinary write-ups and the denial of furlough or other job related

accommodations or benefits; e.) blackballed and not afforded the opportunity to join




                                             4
  Case: 1:18-cv-04259 Document #: 1 Filed: 06/19/18 Page 5 of 25 PageID #:5



certain favored units or obtain favored assignments; and f.) were denied opportunities for

promotion, including being passed over for merit promotions.

                    Plaintiff Witnesses And Reports Police Misconduct

       27.     On several occasions from May 2014 through October 2015, Plaintiff

reported crimes and serious rules violations committed by members of the Chicago Police

Department to the Chicago Police Department, at various levels, and to the Internal

Affairs Division.

       28.     Among the serious rule crimes and serious rule violations Plaintiff

witnessed, and reported to his superiors and/or the Internal Affairs Division were: a.) the

falsification of official sworn reports; b.) fabrication of contact cards and dispersal orders

to artificially inflate the amount of police activity relating to gangs and narcotics; c.)

refusal to report serious misconduct committed by fellow officers in an effort to conceal

their incompetence and violation of rudimentary police procedure; d.) ghost pay-rolling

wherein police officers were listed as working on-duty and paid on certain days but

actually never worked on those days; and e.) certain officers routinely being allowed to

miss substantial portions of their work shifts by arriving hours late to work or leave hours

early with full pay and without loss of any accrued time accompanied by the falsification

of police reports to make them appear as present and working on duty.

       29.     Defendant Officers either committed the above crimes and/or serious rule

violations, were knowingly complicit and an important part of such crimes and/or serious

rule violations, had such crimes and serious rule violations reported to them and took

efforts to conceal them, and/or deliberately ignored such crimes and violations so as to

constitute a willful disregard for the truth of what was obviously occurring.




                                              5
  Case: 1:18-cv-04259 Document #: 1 Filed: 06/19/18 Page 6 of 25 PageID #:6



        Defendants Respond To Plaintiff’s Violation Of The Code Of Silence

       30. Defendant Sergeants ordered Plaintiff to commit several of the

aforementioned violations himself even though Plaintiff protested and specifically told

his supervising Sergeant at the time that such actions were violations of the Chicago

Police Department rules and could constitute criminal actions.

       31.     Further, when Plaintiff complied with Chicago Police Department Orders,

Defendant Sergeants would refuse to permit Plaintiff to comply by not forwarding or

approving lawful paperwork that Plaintiff had completed and properly submitted in the

course of his duties.

       32.     By reporting the aforementioned crimes and serious rule violations and the

role of Defendant Officers therein, Plaintiff violated the unwritten Code of Silence

practiced and enforced by officers, supervisors and members of the Chicago Police

Department.

  The Code Of Silence Has Thrived Unchecked In The Chicago Police Department

       33.     The Code of Silence that is rampant within the Chicago Police Department

has been admitted by Chicago Mayor Rahm Emanuel following the release of the Laquan

McDonald shooting video.

       34.     The Department of Justice completed a report on the Chicago Police

Department, concluding that there was a Code of Silence within the Department.

       35.     There have been other incidents where this Code of Silence has been

dragged into the public light.

       36.     In Spaulding v. City of Chicago, 12 CV 8777, two Chicago Police

Officers, Shannon Spaulding and Daniel Echeverria, brought suit alleging they had been




                                            6
  Case: 1:18-cv-04259 Document #: 1 Filed: 06/19/18 Page 7 of 25 PageID #:7



retaliated against by fellow Chicago Police officers for whistleblowing free speech. These

officers also alleged that the Chicago Police Department retaliated against them for

disclosing information regarding police misconduct to the FBI. This case was settled for

two million dollars prior to trial.

        37.     In Obrycka v. City of Chicago, 07 CV 2372, a federal jury concluded that

there was a Code of Silence that resulted in a police cover-up of officer misconduct that

had led to Plaintiff’s injuries at the hands of an off-duty police officer.

        38.     Most notably, the Code of Silence was prominent in the wake of the

Laquan McDonald shooting, which involved the indictment of three Chicago Police

Officers (Circuit Court of Cook County Case No. 17 CR 9700) who along with a number

of other unindicted co-conspirator Chicago Police Officers went to the extraordinary

lengths of filing false sworn police reports and misstating witness testimony in an attempt

to conceal Jason Van Dyke’s unjustified shooting of Laquan McDonald.

         Plaintiff Experiences Retaliation For Violating The Code Of Silence

        39.     As a result of speaking out and reporting crimes and serious rules

violations committed by members of the Chicago Police Department to the Chicago

Police Department, Plaintiff has suffered retaliation at the hand of members of the

Chicago Police Department, including the individual Defendants.

        40.     The specific retaliation that Plaintiff has suffered as a result of his

reporting crimes and serious rules violations committed by members of the Chicago

Police Department to the Chicago Police Department, include being subjected to a variety

of racial slurs and epithets such as being called a “Chink;” threatened with arrest;

hostility from supervisors; harassment such as reduced furlough and unwarranted




                                               7
  Case: 1:18-cv-04259 Document #: 1 Filed: 06/19/18 Page 8 of 25 PageID #:8



discipline for false infractions; removal from the tactical team; denial of transfer to

certain favored assignments; and denial of promotion.

                       Procedural History of Plaintiff’s Lawsuit

        41.    Plaintiff initially filed a complaint in the Circuit Court of Cook County

involving this same core of operative facts on October 11, 2016, in 2016 L10054.

        42.    On July 13, 2017, Plaintiff’s Circuit Court of Cook County case was

voluntarily dismissed without prejudice pursuant to section 2-1009 of the Illinois Code of

Civil Procedure.

        43.    This case is being refilled within one year pursuant to section 5/13-217 of

the Illinois Code of Civil Procedure, which allows refiling of a cause of action within one

year.

                The Law Catches Up With Defendant Officer Elizando

        44.    Since the voluntary dismissal of the Circuit Court of Cook County Case,

Defendant Chicago Police Sergeant Xavier Elizando has been suspended from active

duty and is under federal indictment in a three count Indictment in Case No. 18CR286 for

theft and lying to federal authorities in connection with the execution of John Doe search

warrants during the period of April 2017 through March 2018.

        45.    Specifically, during the course of conduct described by the Indictment,

Elizondo has alleged to have: 1.) obtained materially false John Doe search warrants; 2.)

caused confidential informants to provide false information to judges to obtain such

warrants; 3.) falsified police reports to conceal criminal activities regarding the John Doe

search warrants; and 4.) lying to federal authorities.




                                             8
  Case: 1:18-cv-04259 Document #: 1 Filed: 06/19/18 Page 9 of 25 PageID #:9



                                     COUNT I
                        FIRST AMENDMENT RETALIATION
                              (Against All Defendants)

        46.     Plaintiff realleges and incorporates by reference paragraphs 1-45 above as

fully stated herein.

        47.     The First Amendment of the United States Constitution guarantees

Plaintiff the right to speak out on matters of public concern without fear of unjust

retaliation.

        48.     Plaintiff engaged in protected speech on matters of public concern by

reporting criminal misconduct, corruption, and serious rules violations committed by

members, officers, agents and/or employees of the Chicago Police Department.

        49.     Plaintiff also engaged in protected speech on matters of public concern by

filing an EEOC Complaint regarding the racial remarks/sexual harassment he received

while working for the Chicago Police Department.

        50.     As a result of Plaintiff’s exercise of protected free speech, the Individual

Defendant Officers retaliated against Plaintiff.

        51.     Retaliation against Plaintiff was also devised, approved, and carried out by

individuals with final policymaking authority with respect to the actions taken, as

follows:

                a. By authority delegated to him by the Chicago City Council, the

        Superintendent of Police is responsible for the general management and control of

        the police department, and has full and complete authority to administer the

        department. The Superintendent has the power and the duty to administer the

        affairs of the department as its chief administrative officer, including to make



                                             9
Case: 1:18-cv-04259 Document #: 1 Filed: 06/19/18 Page 10 of 25 PageID #:10



       appointments, promotions, transfers, and to take disciplinary action against

       department employees; to appoint, discharge, suspend or transfer employees; and

       issue instructions to department employees in the line of their duties.

               b. Within the Department, the Superintendent has delegated certain

       policymaking authorities to his Chiefs, who have in turn delegated this authority

       to Individual Defendant Officers Doss, Elizando, Pickett and Flechsig.

       52.     The misconduct described in this Count was permitted by, encouraged by,

contributed to by, and the result of Defendant City of Chicago’s deliberate indifference to

the policies and widespread practice of the Code of Silence and in that:

               a. Municipal policymakers are aware of, condone and facilitate by their

       inaction, a “code of silence” in the Chicago Police Department, by which officers

       understand that they should cover for each other unconditionally and that failure

       to do so amounts to a betrayal.

               b. Municipal policymakers are aware of, condone and facilitate by their

       inaction, the enforcement of the “code of silence” within the Department through

       the retaliation against officers who do report the misconduct of other officers.

               c. The City Council’s Committee on Police and Fire has recognized the

       existence of the code of silence within the Chicago Police Department but has

       failed to take the necessary steps to protect officers who break the Code of Silence

       and suffer retaliation as a result.

               d. As a matter of both policy and practice, the City of Chicago directly

       encouraged, and was thereby the moving force behind the very type of

       misconduct at issue here by failing to adequately supervise, discipline, and control




                                             10
Case: 1:18-cv-04259 Document #: 1 Filed: 06/19/18 Page 11 of 25 PageID #:11



         its officers, such that its failure to do so manifests deliberate indifference.

                 e. As a matter of both policy and practice, the City of Chicago facilitated

         the very type of misconduct at issue here by allowing it to continue as a matter of

         practice within the Department, thereby leading Chicago police officers to believe

         that the Code of Silence will be enforced throughout the Department and, in that

         way, directly encouraging future abuses.

                 f. As a matter of widespread practice so prevalent as to comprise

         municipal policy, officers of the Chicago Police Department who have dared to

         speak out about the misconduct of others have experienced retaliation similar to

         that alleged by Plaintiffs.

         53.     As a direct and proximate result of one or more of the foregoing wrongful

acts, Plaintiff was caused to suffer and continues to suffer lost benefits, lost opportunity,

lost promotions, denial of job related perks, denial of furlough and time-off, threats,

hostility from supervisors and fellow officers, endured unwarranted disciplinary reports

for false infractions, has incurred costs and attorneys’ fees, and has suffered and

continues to suffer from emotional distress, anxiety, humiliation, shame, embarrassment,

and fear that has resulted in damage to his social and emotional well being, and

interference with certain basic life functions including the ability to function at work and

sleep.

         54.     The misconduct described in this Count by the Individual Defendants was

undertaken by Defendant Chicago Police Officers within the scope of their employment

such that their employer, Defendant City of Chicago, is liable for their actions.




                                               11
Case: 1:18-cv-04259 Document #: 1 Filed: 06/19/18 Page 12 of 25 PageID #:12



                                      COUNT II
                      CONSPIRACY pursuant to 42 U.S.C. § 1983:
                         (Against All Individual Defendants)

        55.     Plaintiff repeats, re-alleges and fully incorporates paragraphs 1-45 as if

fully pled herein.

        56.     Individual Defendant Officers, acting in concert with other known and

unknown conspirators, reached an agreement and/or understanding to deprive Plaintiff of

his constitutional rights.

        57.     Plaintiff was denied of his Constitutional rights in the manner described in

the preceding paragraphs.

        58.     In furtherance of the conspiracy, Defendants committed overt acts and

were otherwise willful participants in joint activity with state actors who were acting

under the color of law.

        59.     The misconduct alleged in this Count was undertaken with malice,

willfulness, and reckless indifference to the rights of others.

        60.     The Individual Defendant Officers are liable under 42 U.S.C. § 1983,

because they agreed and conspired with each other to retaliate against Plaintiff in

violation of the First Amendment.

        61.     The Individual Defendant Officers took actions to further the conspiracy,

including:

                a. Publicly berated and cursed at Plaintiff, including the use of racial slurs;

                b. Ordered Plaintiff into work on his days off during a previously

                approved furlough and at a time when he had been ordered home without

                justification;



                                              12
Case: 1:18-cv-04259 Document #: 1 Filed: 06/19/18 Page 13 of 25 PageID #:13



               c. Threatened to arrest Plaintiff;

               d. Told Plaintiff to “go fuck yourself” and that superiors “want him gone;”

               e. Threatened Plaintiff’s career and any future promotions;

               f. Threatened to search Plaintiff’s home and arrest him in front of his

               daughter;

               g. Denied Plaintiff multiple transfers;

               h. Denied Plaintiff overtime benefits;

               i. Forced Plaintiff to work the night shift without regard to his seniority;

               j. Singled Plaintiff out by writing false disciplinary infractions against him

               that had no basis or justification;

               k. Denied, withdrew, and reduced Plaintiff’s furlough benefits without

               justification; and

               l. Removed Plaintiff from the tactical team without justification and

               reassigned him to a perimeter position.

       62.     In doing so, the Individual Defendant Officers were motivated solely by

personal bias and were acting as part of a broader pattern of retaliation against Plaintiff

and other employees that spoke out on matters of public concern.

       63.     As a direct and proximate result of one or more of the foregoing wrongful

acts, Plaintiff was caused to suffer and continues to suffer lost benefits, lost opportunity,

lost promotions, denial of job related perks, denial of furlough and time-off, threats,

hostility from supervisors and fellow officers, endured unwarranted disciplinary reports

for false infractions, has incurred costs and attorneys’ fees and has suffered and continues

to suffer from emotional distress, anxiety, humiliation, shame, embarrassment, and fear




                                             13
Case: 1:18-cv-04259 Document #: 1 Filed: 06/19/18 Page 14 of 25 PageID #:14



that has resulted in damage to his social and emotional well being, and interference with

certain basic life functions including the ability to function at work and sleep.

       64.      The misconduct described in this Count was undertaken by Defendant

Chicago Police Officers within the scope of their employment such that their employer,

Defendant City of Chicago, is liable for their actions.



                              COUNT III
   VIOLATION OF THE ILLINOIS WHISTLEBLOWER PROTECTION ACT
                           740 ILCS § 174/5
                  (Against Defendant City of Chicago)

       65.      Plaintiff repeats, re-alleges and fully incorporates paragraphs 1-45 as if

fully pled herein.

       66.      The City of Chicago employed Plaintiff at all times as defined in 740

ILCS § 174/5. Plaintiff was at all times complained of an employee as defined in 740

ILCS § 174/5.

        67.     The City of Chicago and its members, officers, employees and/or agents

were prohibited by the Illinois Whistleblower Protection Act 740 ILCS § 174/5 from

retaliating against Plaintiff for reporting unlawful criminal actions and misconduct and

serious rule violations on the part of members, officers, employees and/or agents of the

Chicago Police Department.

       68.      The City of Chicago and its members, officers, agents and employees,

including Defendant Individual Officers, retaliated against Plaintiff because he reported

unlawful criminal actions and misconduct and serious rule violations on the part of

members, officers, employees and/or agents of the Chicago Police Department.

       69.      As a direct and proximate result of one or more of the foregoing wrongful


                                             14
Case: 1:18-cv-04259 Document #: 1 Filed: 06/19/18 Page 15 of 25 PageID #:15



acts, Plaintiff was caused to suffer and continues to suffer lost benefits, lost opportunity,

lost promotions, denial of job related perks, denial of furlough and time-off, threats,

hostility from supervisors and fellow officers, endured unwarranted disciplinary reports

for false infractions, has incurred costs and attorneys’ fees and has suffered and continues

to suffer from emotional distress, anxiety, humiliation, shame, embarrassment, and fear

that has resulted in damage to his social and emotional well being, and interference with

certain basic life functions including the ability to function at work and sleep.



                                      COUNT IV
                        WILLFUL AND WANTON CONDUCT
             (Against All Individual Defendants, individually and as agents)

       70.       Plaintiff repeats, re-alleges and fully incorporates paragraphs 1-45 as fully

stated herein.

       71.       At all times relevant to this Complaint, Defendant Officers were acting as

duly authorized agents of Defendant City of Chicago, who undertook to interfere with

Plaintiff’s safety and well-being.

       72.       At all times relevant to this Complaint, Defendant City of Chicago and its

police department, by and through its agents and employees, including the Individual

Defendant Officers, owed a duty to Plaintiff to refrain from willful and wanton

misconduct, during their performance of their duties as police officers.

       73.       From May 2014, to the present, Defendant Officers breached that duty as

they were willful and wanton in one or more of the following respects, each which was

done with an utter indifference and conscious disregard for Plaintiff:

                 a. Publicly berated and cursed at Plaintiff, including the use of racial slurs;



                                               15
Case: 1:18-cv-04259 Document #: 1 Filed: 06/19/18 Page 16 of 25 PageID #:16



               b. Ordered Plaintiff into work on his days off during a previously

               approved furlough and at a time when he had been ordered home without

               justification;

               c. Threatened to arrest Plaintiff;

               d. Told Plaintiff to “go fuck yourself” and that superiors “want him gone;”

               e. Threatened Plaintiff’s career and any future promotions;

               f. Threatened to search Plaintiff’s home and arrest him in front of his

               daughter;

               g. Denied Plaintiff multiple transfers;

               h. Denied Plaintiff overtime benefits;

               i. Forced Plaintiff to work the night shift without regard to his seniority;

               j. Singled Plaintiff out by writing false disciplinary infractions against him

               that had no basis or justification;

               k. Denied, withdrew, and reduced Plaintiff’s furlough benefits without

               justification; and

               l. Removed Plaintiff from the tactical team without justification and

               reassigned him to a perimeter position.

       74.     As a direct and proximate result of one or more of the foregoing wrongful

acts, Plaintiff was caused to suffer and continues to suffer lost benefits, lost opportunity,

lost promotions, denial of job related perks, denial of furlough and time-off, threats,

hostility from supervisors and fellow officers, endured unwarranted disciplinary reports

for false infractions, has incurred costs and attorneys’ fees and has suffered and continues

to suffer from emotional distress, anxiety, humiliation, shame, embarrassment, and fear




                                             16
Case: 1:18-cv-04259 Document #: 1 Filed: 06/19/18 Page 17 of 25 PageID #:17



that has resulted in damage to his social and emotional well being, and interference with

certain basic life functions including the ability to function at work and sleep.




                                  COUNT V
        ILLINOIS STATE LAW CLAIM: INTENTIONAL INFLICTION OF
                         EMOTIONAL DISTRESS
                     (Against All Individual Defendants)

        75.      Plaintiff repeats, re-alleges and incorporates paragraphs 1-45 as fully

stated herein.

        76.      At all times relevant to this Complaint, Defendant Officers had a duty to

refrain from acting with extreme and outrageous conduct toward their colleagues,

subordinates, and co-workers, including Plaintiff.

        77.      At all times relevant to this Complaint, Defendant Chicago Police Officers

engaged in extreme and outrageous conduct in breach of that duty by cursing at,

threatening, denying benefits to, issuing false disciplinary matters, bullying and harassing

Plaintiff.

        78.      In committing this extreme and outrageous conduct, Defendant Chicago

Police Officers intended to inflict severe emotional distress on Plaintiff or recklessly or

consciously disregarded the probability of causing emotional distress to Plaintiff.

        79.      Defendant Chicago Police Officers acted willfully, with malice, and with

knowledge of, or a conscious disregard of, the harm that would be inflicted upon Plaintiff

by committing one or more of the following:

                 a. Publicly berated and cursed at Plaintiff, including the use of racial slurs;

                 b. Ordered Plaintiff into work on his days off during a previously


                                               17
Case: 1:18-cv-04259 Document #: 1 Filed: 06/19/18 Page 18 of 25 PageID #:18



               approved furlough and at a time when he had been ordered home without

               justification;

               c. Threatened to arrest Plaintiff;

               d. Told Plaintiff to “go fuck yourself” and that superiors “want him gone;”

               e. Threatened Plaintiff’s career and any future promotions;

               f. Threatened to search Plaintiff’s home and arrest him in front of his

               daughter;

               g. Denied Plaintiff multiple transfers;

               h. Denied Plaintiff overtime benefits;

               i. Forced Plaintiff to work the night shift without regard to his seniority;

               j. Singled Plaintiff out by writing false disciplinary infractions against him

               that had no basis or justification;

               k. Denied, withdrew, and reduced Plaintiff’s furlough benefits without

               justification;

               l. Removed Plaintiff from the tactical team without justification and

               reassigned him to a perimeter position.

       80.     As a direct and proximate result of Defendant Chicago Police Officer’s

extreme and outrageous conduct, Plaintiff suffered severe and extreme mental and

emotional distress, humiliation, shame, embarrassment, fear, and anxiety that has resulted

in damage to his social and emotional well being, and interference with certain basic life

functions including the ability to function at work and sleep.

       81.     The misconduct described in this Count was undertaken by Defendant

Chicago Police Officers within the scope of their employment such that their employer,




                                             18
Case: 1:18-cv-04259 Document #: 1 Filed: 06/19/18 Page 19 of 25 PageID #:19



Defendant City of Chicago, is liable for their actions.



                                       COUNT VI
                         ILLINOIS STATE LAW: CONSPIRACY
                           (Against All Individual Defendants)

       82.     Plaintiff realleges and incorporates by reference Paragraphs 1 through 45

above as though fully set forth herein.

       83.     Defendant Chicago Police Officers reached an agreement and conspired

with one another to intimidate, harass, and retaliate against Plaintiff for Plaintiff’s actions

in whistleblowing and violating the Code of Silence.

       84.     Defendant Chicago Police Officers took overt acts in furtherance of their

conspiracy, including but limited to:

                a. Publicly berated and cursed at Plaintiff, including the use of racial

                slurs;

               b. Ordered Plaintiff into work on his days off during a previously

               approved furlough and at a time when he had been ordered home without

               justification;

               c. Threatened to arrest Plaintiff;

               d. Told Plaintiff to “go fuck yourself” and that superiors “want him gone:”

               e. Threatened Plaintiff’s career and any future promotions;

               f. Threatened to search Plaintiff’s home and arrest him in front of his

               daughter;

               g. Denied Plaintiff multiple transfers;

               h. Denied Plaintiff overtime benefits;



                                              19
Case: 1:18-cv-04259 Document #: 1 Filed: 06/19/18 Page 20 of 25 PageID #:20



               i. Forced Plaintiff to work the night shift without regard to his seniority;

               j. Singled Plaintiff out by writing false disciplinary infractions against him

               that had no basis or justification;

               k. Denied, withdrew, and reduced Plaintiff’s furlough benefits without

               justification;

               l. Removed Plaintiff from the tactical team without justification and

               reassigned him to a perimeter position.

       85.     Individual Defendant Chicago Police Officers acted with malice,

willfulness, and reckless indifference to Plaintiff’s rights.

       86.     The misconduct described in this Count was undertaken by Defendant

Chicago Police Officers within the scope of their employment such that their employer,

Defendant City of Chicago, is liable for their actions.

       87.     As a direct and proximate result of one or more of the foregoing wrongful

acts, Plaintiff was caused to suffer and continues to suffer lost benefits, lost opportunity,

lost promotions, denial of job related perks, denial of furlough and time-off, threats,

hostility from supervisors and fellow officers, endured unwarranted disciplinary reports

for false infractions, has incurred costs and attorneys’ fees and has suffered and continues

to suffer from emotional distress, anxiety, humiliation, shame, embarrassment, and fear

that has resulted in damage to his social and emotional well being, and interference with

certain basic life functions including the ability to function at work and sleep.




                                              20
Case: 1:18-cv-04259 Document #: 1 Filed: 06/19/18 Page 21 of 25 PageID #:21




                                     COUNT VII
                           State Law Claim: Indemnification
                          (Against Defendant City of Chicago)

       88.       Plaintiff repeats, re-alleges and incorporates paragraphs 1-45 as fully

stated herein.

       89.       Defendant City of Chicago is the employer of all of the individual

Defendant Officers.

       90.       In Illinois, public entities are directed to pay any tort judgment for

compensatory damages for which employees are liable within the scope of their

employment activities. 735 ILCS 10/9-102.

       91.       Defendant Chicago Police Sergeant Xavier Elizando; Chicago Police

Officer Priscilla Hernandez; Chicago Police Sergeant Mark Flechsig; Chicago Police

Officer Ashai Hayden; Chicago Police Sergeant Shawn Pickett; and Chicago Police

Lieutenant Darren Doss were at all times material hereto employees of Defendant City of

Chicago and acted within the scope of his employment in committing the misconduct

described herein.



                                    COUNT VIII
         Illinois State Law: Supplementary Claim for Respondeat Superior
                         (Against Defendant City of Chicago)

       92.       Plaintiff repeats, re-alleges and incorporates paragraphs 1-45 as fully

stated herein.

       93.       Defendant City of Chicago is the employer of all of the individual



                                            21
Case: 1:18-cv-04259 Document #: 1 Filed: 06/19/18 Page 22 of 25 PageID #:22



Defendant Officers.

          94.   Defendant Chicago Police Sergeant Xavier Elizando; Chicago Police

Officer Priscilla Hernandez; Chicago Police Sergeant Mark Flechsig; Chicago Police

Officer Ashai Hayden; Chicago Police Sergeant Shawn Pickett; and Chicago Police

Lieutenant Darren Doss were at all times material hereto employees of Defendant City of

Chicago, were in the scope of their employment, and acted with willful and wanton

disregard for Plaintiff and therefore, Defendant City of Chicago, as principlal, is liable for

the actions of its agents under the doctrine of respondeat superior.



                                      COUNT IX
                                     Monell Claim
                          (Against Defendant City of Chicago)

          95.   Plaintiff re-alleges and incorporates paragraphs 1-45 above as fully stated

herein.

          96.   The Chicago Police Department (the "Department") is a subsidiary

division of Defendant City of Chicago.

          97.   The City maintains and exercises exclusive control over the Department,

its policies and procedures, as well as the conduct of all of its employees, including

Defendant Chicago Police Officers.

          98.   The Independent Police Review Authority (“IPRA”) is a subsidiary of

Defendant City of Chicago during all times relevant to this Complaint. The City

maintained and exercised exclusive control over IPRA, its policies and procedures, as

well as the conduct of its employees.

          99.   Defendant City, through its subsidiary the Chicago Police Department, has



                                             22
Case: 1:18-cv-04259 Document #: 1 Filed: 06/19/18 Page 23 of 25 PageID #:23



established certain policies and procedures that were adopted and promulgated through

the actions and inactions of senior and intermediate supervising officers of the Chicago

Police Department, and were thereby ratified by Defendant City of Chicago.

       100.    Defendant City of Chicago, through its subsidiary IPRA has established

certain policies and procedures that were adopted and promulgated through the actions

and inactions of senior and intermediate supervisory employees of IPRA, and thereby

ratified by Defendant City of Chicago.

       101.    At the time of this occurrence and prior thereto, there existed within the

Chicago Police Department policies and procedures which result in the failure or refusal

of the Chicago Police Department to properly and legitimately investigate police

misconduct committed by sworn Chicago Police Officers against civilian citizens of

Chicago.

       102.    At the time of this occurrence and prior thereto, there existed within the

Chicago Police Department policies and procedures which resulted in a Code of Silence

that created and caused an environment in which Chicago Police Officers, like Plaintiff,

and/or employees that reported any misconduct were retaliated against in a variety of

ways, including being subjected to a variety of racial slurs and epithets; threatened;

hostility from supervisors; harassment such as reduced furlough and unwarranted

discipline for false infractions; removal from assignments such as the tactical team;

denial of transfer to certain favored assignments; and denial of promotion.

       103.    The Chicago Police Department failed or refused to properly and

legitimately investigate police misconduct committed by sworn Chicago Police Officers

against civilian citizens of Chicago and refused to remedy the Code of Silence.




                                            23
Case: 1:18-cv-04259 Document #: 1 Filed: 06/19/18 Page 24 of 25 PageID #:24



       104.    The failure or refusal of the Chicago Police Department to properly and

legitimately investigate police misconduct by sworn Chicago Police Officers, to properly

discipline its officers for such misconduct and to address the widespread Code of Silence

is the proximate cause of frequent injuries to Plaintiff, as well as other citizens, and will

be the cause of future injuries.

       105.    The failure and refusal by Defendant City, through the Chicago Police

Department and IPRA, to properly and legitimately investigate police misconduct by

sworn Chicago Police Officers and to permit the operation of a Code of Silence that

results in retaliation when police misconduct is reported signals a tolerance by Defendant

City of police misconduct by Chicago Police Officers, and constitutes a deliberate

indifference by Defendant City of Chicago to such conduct.

       106.    As a direct and proximate result of one or more of the foregoing wrongful

acts, Plaintiff was caused to suffer and continues to suffer lost benefits, lost opportunity,

lost promotions, denial of job related perks, denial of furlough and time-off, threats,

hostility from supervisors and fellow officers, endured unwarranted disciplinary reports

for false infractions, has incurred costs and attorneys’ fees and has suffered and continues

to suffer from emotional distress, anxiety, humiliation, shame, embarrassment, and fear

that has resulted in damage to his social and emotional well being, and interference with

certain basic life functions including the ability to function at work and sleep.



                                   REQUEST FOR RELIEF

       Plaintiff Jaeho Jung respectfully request that the Court:

       a. Enter a judgment in Plaintiff’s favor and against Defendant Chicago Police
       Sergeant Xavier Elizando; Chicago Police Officer Priscilla Hernandez; Chicago


                                             24
Case: 1:18-cv-04259 Document #: 1 Filed: 06/19/18 Page 25 of 25 PageID #:25



       Police Sergeant Mark Flechsig; Chicago Police Officer Ashai Hayden; Chicago
       Police Sergeant Shawn Pickett; Chicago Police Lieutenant Darren Doss; and THE
       CITY OF CHICAGO;

       b. Award compensatory damages to Plaintiff and against Defendant Chicago
       Police Sergeant Xavier Elizando; Chicago Police Officer Priscilla Hernandez;
       Chicago Police Sergeant Mark Flechsig; Chicago Police Officer Ashai Hayden;
       Chicago Police Sergeant Shawn Pickett; Chicago Police Lieutenant Darren Doss;
       and THE CITY OF CHICAGO;

       c. Award attorney’s fees and costs to Plaintiff and against Defendant Chicago
       Police Sergeant Xavier Elizando; Chicago Police Officer Priscilla Hernandez;
       Chicago Police Sergeant Mark Flechsig; Chicago Police Officer Ashai Hayden;
       Chicago Police Sergeant Shawn Pickett; Chicago Police Lieutenant Darren Doss;
       and THE CITY OF CHICAGO;

       d. Award punitive damages to Plaintiff and Defendant Chicago Police Sergeant
       Xavier Elizando; Chicago Police Officer Priscilla Hernandez; Chicago Police
       Sergeant Mark Flechsig; Chicago Police Officer Ashai Hayden; Chicago Police
       Sergeant Shawn Pickett; Chicago Police Lieutenant Darren Doss; and THE CITY
       OF CHICAGO;

       e. Grant any other relief this Court deems just and appropriate, including equitable
       relief with respect to Plaintiff’s Monell claim to include, among other things, the
       appointment of an independent monitor to oversee the creation and
       implementation of necessary reforms.

                                     JURY DEMAND

       Plaintiff Jaeho Jung demands a trial by jury under the Federal Rule of Civil

Procedure 38(b) on all issues so triable.

                                             Respectfully submitted,
                                             /s/ Robert Robertson
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                                            25
